                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION
 SLWM LLC,                                          )
                                                    )
                               Plaintiff,           )
                                                    )
                      v.                            )       Case No. 4:23-00215-CV-RK
                                                    )
 THE SOURCING GROUP, LLC, KYLE                      )
 SMITH, RACHELLE REEVES,                            )
 JENNIFER HARRINGTON, AMY TILLA,                    )
 STEPHANIE WAZLAVEK, AMY                            )
 WOODS, NOAH NORTH, AMBER                           )
 HORNBERGER BLACK, WILLIAM                          )
 CAAN, JOE FALCONE,                                 )
                                                    )
                               Defendants.          )
                                    PROTECTIVE ORDER

        The parties agree during the course of discovery it may be necessary to disclose certain

 confidential information relating to the subject matter of this action. They agree certain

 categories of such information should be treated as confidential, protected from disclosure

 outside this litigation, and used only for purposes of prosecuting or defending this action and

 any appeals. The parties jointly request entry of a protective order to limit the disclosure,

 dissemination, and use of certain identified categories of confidential information.

        The parties assert in support of their request that protection of the identified categories of

 confidential information is necessary because the claims concern alleged trade secrets

 and proprietary information and discovery has included imaging of devices which includes

 personal information in which the parties and/or their employees have privacy interests.

        Pursuant to the agreement of the parties and for good cause shown under Fed. R. Civ.

P. 26(c), the Court hereby enters the following Protective Order:




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       1.      Scope. All documents, materials and electronically stored information produced

in the course of discovery of this case, including pleadings, briefs or memoranda, initial

disclosures, responses to discovery requests, all deposition testimony and exhibits, all

information stored on computers, telephones and otherelectronic devices, and information

derived therefrom (hereinafter, collectively, “documents”), are subject to this Order concerning

Confidential Information as set forth below.

       2.      Definition of Confidential Information. As used in this Order, “Confidential

Information” is defined as documents that the producing party designates in good faith have

been previously maintained in a confidential manner and should be protected from disclosure

and use outside the litigation because its disclosure and use are restricted by statute or could

potentially cause harm to the interests of the disclosing party or nonparties. For purposes of this

Order, the parties will limit their designation of “Confidential Information” to the following

categories of documents: ( a ) personnel files, (b) medical information concerning any

individual, (c) proprietary business records including research, technical, commercial or

financial information not known to the general public, (d) information reflecting trade secrets or

alleged trade secrets, (e) personal identifying information, and (f) income tax returns (including

attached schedules and forms) as well as W-2 forms and 1099 forms. . Documents that are

available to the public may not be designated as Confidential Information. The parties may

stipulate to or move the Court for the inclusion of additional categories of information to be

designated as Confidential Information.

       3.      Form and Timing of Designation. The producing party may designate

documents as containing Confidential Information and therefore subject to protection under this

Order by marking or placing the words “CONFIDENTIAL - SUBJECT TO PROTECTIVE



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ORDER” (hereinafter, “the marking”) on the document and on all copies in a manner that will

not interfere with the legibility of the document. As used in this Order, “copies” includes

electronic images, duplicates, extracts, summaries, or descriptions that contain the Confidential

Information. The marking will be applied prior to or at the time the documents are produced or

disclosed. Applying the marking to a document does not mean that the document has any status

or protection by statute or otherwise except to the extent and for the purposes of this Order.

Copies that are made of any designated documents must also bear the marking, except that

indices, electronic databases, or lists of documents that do not contain substantial portions or

images of the text of marked documents

and do not otherwise disclose the substance of the Confidential Information are not required to

be marked. By marking a designated document as confidential, the designating attorney or party

appearing pro se thereby certifies that the document contains Confidential Information as

defined in this Order.

        4.      Inadvertent Failure to Designate. Inadvertent failure to designate any document

as containing Confidential Information will not constitute a waiver of an otherwise valid claim

of confidentiality pursuant to this Order, so long as a claim of confidentiality is asserted within 14

days after discovery of the inadvertent failure, provided however, that a failure to serve a timely

Notice of Designation of deposition testimony as required by this Order, even if inadvertent,

waives any protection for deposition testimony. If a party designates a document as Confidential

Information after it was initially produced, the producing party shall provide a replacement

document having the Confidentiality designation to the receiving party upon notification of the

designation. The receiving party, on notification of the designation, must make a reasonable

effort to assure that the document is treated in accordance with the provisions of this Order,


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including returning or destroying the unmarked Confidential document upon receipt of the

newly marked document. No party shall be found to have violated this Order for failing to

maintain the confidentiality of material during a time when the material has not been designated

Confidential Information, even where the failure to so designate was inadvertent and where the

material is subsequently designated Confidential Information..

        5.      Inadvertent Production. In the event that a party inadvertently produces to any

other party any Confidential Information that is privileged, in whole or in part, pursuant to the

attorney-client privilege, work product doctrine, or other applicable privilege, the privileged

material may be retrieved by the producing party by giving written notice to all parties who

received copies of the produced materials of the claim of privilege within ten (10) business days

of the date on which the producing party becomes aware of the inadvertent production. Upon

receipt of such notice, all parties or other persons that have received a copy of the produced

material shall return any privileged material to the producing party and destroy any copies of

privileged documents. The terms of this paragraph shall not be deemed a waiver of a party’s

right to contest the producing party’s designation of Confidential Information as privileged, nor

shall such inadvertent production of a document that is subsequently retrieved pursuant to this

paragraph be deemed to be a waiver of the claim of privilege asserted. If the receiving party

disagrees with the assertion of privilege, it has ten (10) days after receipt of the written notice to

reject the producing party’s assertion of privilege, during which time it shall sequester the

document (and all copies) until a determination is made as to the assertion of privilege. Upon

receipt of the receiving party’s timely objection to any privilege claim, the party asserting

privilege shall initiate within ten (10) days the procedure set forth in Local Rule 37.1 to resolve

the dispute. The burden of establishing that the information is privileged remains with the party



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asserting it. If the receiving party does not respond to the written notice of privilege within the

ten-day period, such non-response will constitute an acceptance of the producing party’s

assertion. Nothing in this Order imposes a duty on the receiving party to identify potentially

privileged documents provided by the producing party.

       6.      Depositions.        Deposition       testimony       may        be      designated

as "CONFIDENTIAL" on the record at the time the testimony is taken. In lieu of a statement on

the record, all depositions shall presumptively be treated as Confidential Information and

subject to this Protective Order during the deposition and for a period of fourteen (14) days after

a transcript of said deposition is received by counsel for each of the parties. Within fourteen

days after delivery of the transcript, a designating party may serve a Notice of Designation to

all parties of record identifying the specific portions of the transcript that are designated

Confidential Information, and thereafter those portions identified in the Notice of Designation

shall be protected under the terms of this Order. The failure to serve a timely Notice of

Designation waives any designation of deposition testimony as Confidential Information that

was made on the record of the deposition, unless otherwise ordered by the Court.

       7.      Protection of Confidential Material.

               (a)     General Protections. Designated Confidential Information must be used

or disclosed solely for purposes of prosecuting or defending this lawsuit, including any appeals.

               (b)     Who May View Designated Confidential Information. Except with the

prior written consent of the designating party or prior order of the Court, designated Confidential

Information may only be disclosed to the following persons:

               (1)     The parties to this litigation, including any employees, agents, and
                       representatives of the parties;

               (2)     Counsel for the parties and employees and agents of counsel;

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               (3)     The Court and Court personnel, including any special master
                       appointed by the Court, and members of the jury;

               (4)     Court reporters, recorders, and videographers engaged for deposi-
                       tions;
               (5)     Any mediator appointed by the Court or jointly selected by the
                       parties;

               (6)     Any expert witness, outside consultant, or investigator retained
                       specifically in connection with this litigation, but only after such
                       persons have completed the certification contained in Attachment
                       A, Acknowledgment and Agreement to be Bound;

               (7)     Any potential, anticipated, or actual fact witness and his or her
                       coun- sel, but only to the extent such confidential documents or
                       information will assist the witness in recalling, relating, or
                       explaining facts or in testifying, and only after such persons have
                       completed the certification contained in Attachment A;

               (8)     The author or recipient of the document (not including a person
                       who received the document in the course of the litigation);

               (9)     Independent providers of document reproduction, electronic
                       discov- ery, or other litigation services retained or employed
                       specifically in connection with this litigation, and only after such
                       persons have completed the certification contained in Attachment
                       A; and

               (10)    Other persons only upon consent of the producing party and on
                       such conditions as the parties may agree.

               (c)     “Attorneys’ Eyes Only” Designation. If the confidential documents

contain highly sensitive trade secrets or other highly sensitive competitive or confidential

information, the disclosure of which is likely to cause significant harm to an individual or to the

business or competitive position of the designating party, an Attorneys’ Eyes Only designation

may be used to prohibit disclosure of such documents or information other than to the persons

listed in Section 7 (b) (2)-(6) and (9)-(10). The producing party may designate documents as

for Attorneys’ Eyes Only by marking or placing the words “ATTORNEYS’ EYES ONLY” on


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the document and on all copies in a manner that will not interfere with the legibility of the

document. Material designated as Attorneys’ Eyes Only may also be disclosed to the Court and

Court personnel as needed for the litigation of the case, but must be filed under seal to the extent

allowed by the Court.

               (d)      Control of Documents. The parties must take reasonable efforts to

prevent unauthorized or inadvertent disclosure of documents designated as containing

Confidential Information pursuant to the terms of this Order. Counsel for the parties must

maintain a record of those persons, including employees of counsel, who have reviewed or

been given access to the

documents, along with the originals of the certifications contained in Attachment A signed by

those persons required to so certify under Section 6(b) herein.

       8.      Filing of Confidential Information. This Order does not, by itself, authorize the

filing of any document under seal. Any party wishing to file a document designated as

Confidential Information or Attorneys’ Eyes Only in connection with a motion, brief or other

submission to the Court shall bring that issue to the Court's and parties' attention by motion in

advance without disclosing the Confidential Information. The Court may thereafter make such

orders as are necessary to govern the use of such documents or information. All pleadings,

briefs, or memoranda which reproduce, paraphrase, or disclose any documents that have

previously been designated as comprising or containing Confidential Information shall identify

such documents by Bates number ascribed to them at the time of production. Such pleadings,

briefs, or memoranda should be filed under seal or redacted, as appropriate under this Order.

       9.      Discovery Disputes; Challenges to a Confidential Designation. In the event of

a discovery dispute, no party may file a discovery motion before fully complying with Local


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Rule 37.1. Local Rule 37.1 also applies to any dispute on an objection to a confidential

designation under the terms of this Protective Order. The burden of proving the necessity of a

confidentiality designation remains with the party asserting confidentiality. Until the Court rules

on the challenge, all parties must continue to treat the materials as Confidential Information

under the terms of this Order.

        10.     Use of Confidential Documents or Information at Trial or Hearing. Nothing

in this Order will be construed to affect the use of any document, material, or information at any

trial or hearing. A party that intends to present or anticipates that another party may present

Confidential Information at a hearing or trial must bring that issue to the attention of the Court

and the other parties without disclosing the Confidential Information. The Court may thereafter

make such orders as are necessary to govern the use of such documents or information at the

hearing or trial.

        11.     Obligations on Conclusion of Litigation.

                (a)     Order Remains in Effect. Unless otherwise agreed or ordered, all

provisions of this Order will remain in effect and continue to be binding after conclusion of the

litigation.

                (b)     Return of Confidential Documents. Within 30 days after this litigation

concludes by settlement, final judgment, or final order, including all appeals, all documents

designated as containing Confidential Information, including copies as defined above, must be

returned to the party who previously produced the document unless: (1) the document has been

offered into evidence or filed without restriction as to disclosure; (2) the receiving party certifies

that documents containing Confidential Information have been destroyed, or (3) as to

documents bearing the notations, summations, or other mental impressions of the receiving


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party, that party elects to destroy the documents and certifies to the producing party that it has

done so. The Parties stipulate that the receiving party is not required to locate, isolate, and

return e-mails (including attachments to e-mails) that may include Confidential Information,

Confidential Information contained in deposition transcripts, or Confidential Information

contained in draft or final expert reports.

               (c)     Retention of Work Product. Notwithstanding the above requirements

to return or destroy documents, counsel may retain attorney work product, including an index

which refers or relates to designated Confidential Information, so long as that work product

does not duplicate verbatim substantial portions of the text or images of designated documents.

This work product will continue to be confidential under this Order. An attorney may use his or

her own work product in subsequent litigation provided that its use does not disclose

Confidential Information.

        12.      Order Subject to Modification. This Order is subject to modification by the

Court on its own motion or on motion of any party or any other person with standing concerning

the subject matter. The Order must not, however, be modified until the parties have been given

notice and an opportunity to be heard on the proposed modification.

        13.     Enforcement of Protective Order. Even after the final disposition of this case,

a party or any other person with standing concerning the subject matter may file a motion to

seek leave to reopen the case for the limited purpose of enforcing or modifying the provisions

of this Order. See Flynt v. Lombardi, 782 F.3d 963, 966 n.2, 967 (8th Cir. 2015) (per curiam).

        14.     No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.

Nothing in this Order will be construed or presented as a judicial determination that any


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document or material designated as Confidential Information by counsel or the parties is

entitled to protection under Fed. R. Civ. P. 26(c) or otherwise until such time as the Court may

rule on a specific document or issue.

        15.     Persons Bound by Protective Order. This Order will take effect when entered

and is binding upon all counsel of record and their law firms, the parties, and persons made

subject to this Order by its terms.

        16.     Applicability to Parties Later Joined. If additional persons or entities become

parties to this lawsuit, they must not be given access to any Confidential Information until they

execute and file their written agreement to be bound by the provisions of this Order.

        17.     Protections Extended to Third-Party’s Confidential Information. The

parties agree to extend the provisions of this Protective Order to Confidential Information

produced in this case by third parties, if timely requested by the third party.

        18.     Confidential Information Subpoenaed or Ordered Produced in Other

Litigation. If a receiving party is served with a subpoena or an order issued in other litigation

that would compel disclosure of any material or document designated in this action as

Confidential Information, the receiving party must so notify the designating party, in writing,

immediately and in no event more than three business days after receiving the subpoena or

order. Such notification must include a copy of the subpoena or court order.

       The receiving party also must immediately inform in writing the party who caused the

subpoena or order to issue in the other litigation that some or all of the material covered by the

subpoena or order is the subject of this Order and deliver a copy of this Order promptly to the

party in the other action that caused the subpoena to issue.

       The purpose of imposing these duties is to alert the interested persons to the existence


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of this Order and to afford the designating party in this case an opportunity to try to protect its

Confidential Information in the court from which the subpoena or order issued. The designating

party bears the burden and the expense of seeking protection in that court of its Confidential

Information, and nothing in these provisions should be construed as authorizing or encouraging

a receiving party in this action to disobey a lawful directive from another court. The obligations

set forth in this paragraph remain in effect while the party has in its possession, custody, or

control Confidential Information designated by the other party to this case.

        IT IS SO ORDERED.


                                             s/ Roseann A. Ketchmark
                                             ROSEANN A. KETCHMARK, JUDGE
                                             UNITED STATES DISTRICT COURT

DATED: May 8, 2023




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